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                         Exhibit 2
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                              MEMORANDUM OF AGREEMENT
                                          BETWEEN
                         THE DEPARTMENTS OF STATE AND DEFENSE
                           ON THE PROTECTION AND EVACUATION
                              OF U.S. CITIZENS AND NATIONALS
                             AND DESIGNATED OTHER PERSONS
                           FROM THREATENED AREAS OVERSEAS


          The parties to this memorandum of agreement wish to set out their agreement concerning
          their respective roles and responsibilities regarding the protection and evacuation of U.S.
          citizens and nationals and designated other persons from threatened areas overseas.

    A.      POLICY OBJECTIVES

            In the event of an emergency abroad affecting the safety of U.S. citizens, it is the policy
            of the United States Government "--to:

            1.     Protect U.S. citizens and nationals and designated other persons, to include,
            when necessary and feasible, their evacuation to and welfare in relatively safe areas.

            2.      Reduce to a minimum the number of U.S. citizens and nationals and designated
            other persons subject to the risk of death and/or seizure as hostages.

            3.       Reduce to a minimum the number of U.S. citizens and nationals and designated
            other persons in probable or actual combat areas so that combat effectiveness of U.S. and
            allied forces is not impaired.

    B.      INTERAGENCY CHECKLIST AND OTHER RELATED DOCUMENTS

            The documents attached hereto as appendices represent the parties' agreement on the
    respective subjects of those documents .

            1. Checklist for increased interagency coordination in crisis/evacuation situations

            2. Department of State/Department of Defense Cost Responsibilities matrix, with
    attached definitions

            3. Policy guidance regarding evacuation of third-country and host.-country nationals.
    The establishment of this policy guidance shall not preclude coordination or cooperation with
    third countries in appropriate circumstances

            4. Departments of State and Defense Liaison for Coordination and Implementation of
    Plans for the Protection of U.S. Citizens Abroad in Emergencies (Terms of Reference of the
    Washington Liaison Group)

             5. Departments of State and Defense Liaison Coordination and Implementation of Plans
    for the protection of U.S. Citizens Abroad in Emergencies (Terms of Reference of the Regional-
    Liaison Groups)
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    C.   RESPONSIBILITIES

          1. The Secretary of State and the Secretary of Defense will continually monitor political,
          military, economic, and other conditions abroad as they relate to:

             a. The imminence of general or local hostilities or civil disturbances which may
             endanger U.S. citizens and nationals and designated other persons.

             b. The capability and willingness of local authorities to provide adequate protection
             for U.S. citizens and nationals and designated other persons.

             c. The number and locations of U.S. citizens and nationals and designated other
             persons abroad.

             d. Evacuation and protection capabilities, including transportation/lift requirements
             and their availability and the availability of relatively safe holding or survival areas
             for staging evacuees during emergencies.

         2.       The Secretary of State will exercise overall responsibility for attaining the
         objectives in Section A and, except as noted in Section C.3.b., shall:

             a. Identify the offices within the Department of State having major evacuation
             planning and implementation responsibilities.

             b. Prepare plans for the protection and evacuation of all U.S. citizens and nationals
             and designated other persons abroad, including Department of Defense (DOD)
             noncombatants. These plans shall provide for:

                    (1)     In-place welfare and protection.

                    (2)     Evacuation to the United States or to other safe haven areas and their
                            welfare and protection in those areas in the event in-place protection is
                            not feasible.

                    (3)     Coordination to maximize timely use of available military
                            transportation assets and existing host nation support infrastructure.

             c. Coordinate with the Secretary of Defense so that plans for the evacuation from
             foreign countries of U.S. citizens and nationals and designated other persons,
             including Department Defense noncombatants, can be integrated into Department of
             State plans. This is to facilitate the military command’s capability to clear
             expeditiously an area of probable conflict of as many personnel for whom the U.S.
             Government is responsible as feasible.

             d. When appropriate, coordinate with foreign governments on aspects of evacuation
             planning and execution.
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              e. Determine which parts of a plan are to be implemented, with the following
              exceptions.

                    (1) When the situation is so serious that the issue be referred to the
                    President.

                     (2) When the Department of Defense has substantial interest , i.e., when the
                     U.S. Government may be required to provide military assistance, or when
                     military installations or a large number of DOD noncombatants are involved --
                     such determination, including the designation of safe havens, shall be -made
                     after consulting the Secretary of Defense.

                    (3)      When, otherwise provided for in Section D.

              f. Implement the appropriate plan.

              g. Request the Secretary of Defense, when necessary, to make available military
              personnel and equipment to assist in an evacuation during crisis situations. Appendix
              2 defines evacuation and protection cost responsibilities to be borne respectively by
              the Department of State and the Department of Defense during an evacuation.
              Funding authorization and funding information for emergency situations should be
              Provided upon Department of Defense request. This Memorandum of Agreement is
              not intended to define the limits of the President's constitutional and statutory
              authorities.

         3.      The Secretary of Defense shall:

              a. Identify the offices within DOD having major evacuation planning and
              implementation responsibilities.

              b. Be primarily responsible for preparing, ordering the execution of and
              implementing plans for the protection and evacuation of all noncombatant U.S.
              citizens and nationals and certain designated other persons in the U.S. Naval Base at
              Guantanamo.

              c. In coordination with the Secretary of State, prepare and implement plans for the
              protection and evacuation of Department of Defense noncombatants worldwide;
              integrate such plans into Department of State plans for foreign countries; and assist
              the Secretary of State in carrying out responsibilities as stated in Section C.2., where
              militarily feasible. In appropriate circumstances, such as a Presidential declaration of
              national emergency or- directed reinforcement of U.S. armed Forces in a theater, or to
              accommodate force protection or antiterrorism considerations, the Secretary of
              Defense, after consultation with the Secretary of State, may authorize the evacuation
              of all DOD noncombatants, except those attached to Defense Attaché Offices, Marine
              Security Guard Detachments, DOD elements or personnel that form an integral part of
              the U.S. Country Team, and others as determined between the Combatant Commander
              and the Chief of Mission, using commercial transport or retrograde military and
              sealift assets as appropriate, and by delaying personnel arrivals in a potential crisis
              area.
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               d. Ensure prior authorization is obtained from the Department of State for any
               expenses incurred in the evacuation of non-DOD personnel and prepare proper
               documentation for reimbursement. In situations when immediate DOD action is
               required to remove U.S. citizens from jeopardy, requests to the State Department for
               funding authorization may be submitted after expenses have been incurred by the
               Department of Defense. Appendix 2 defines evacuation and protection cost
               responsibilities to be borne respectively by the Department of State and the
               Department of Defense during an evacuation. For cases in which the Department of
               State incurs expenses for the DOD personnel the Secretary of Defense shall ensure
               that reimbursement of such costs is made.

          4.      Chiefs of Diplomatic Missions and Principal Officers shall:

               a. Prepare and maintain the plans described in Sections C.2.c. for their areas of
               responsibility, and implement those plans when required.

               b. Provide timely information to the Secretary of State, the Secretary of Defense,
               the Chairman of the Joint Chiefs of Staff, and appropriate commanders of Combatant
               Commands and their subordinate commanders as necessary, regarding the number of
               potential evacuees, the availability of resources necessary to the evacuation plans, and
               recommendations as to which part(s) of the Department of State evacuation plans
               should be implemented.

           5.       Commanders of Combatant Commands shall--

               a. In cooperation with appropriate Chiefs of Mission, prepare and maintain the plans
               in accordance with Sections C.3.b and C.3.c. for their areas of responsibility.

               b. Cooperate with Chiefs of Mission and Principal officers in carrying out their
               responsibilities under Section C.4.a.

               c. Upon approval by the Secretary, of State, conduct appropriate planning for
               evacuation support with foreign militaries.

               d. Upon request and when militarily feasible, assist in the evacuation or the in-place
               protection of those persons for whom the Secretary of State is responsible.

               e. Prepare and maintain military plans in support of evacuation operations and when
               directed, implement those plans. Authority to implement plans independently is
               discussed in Section D.3.

    D.   AUTHORITY TO INVOKE AN EMERGENCY EVACUATION PLAN

          1.       Normally, the Principal U.S. Diplomatic or Consular Representative shall
          request from the Department of State approval to invoke an emergency evacuation plan
          in an area where an emergency is expected or is developing.
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           a.      When hostilities or disturbances occur with complete surprise or appear
           imminent, the Principal U.S. Diplomatic or Consular Representative may invoke such
           elements of the plan as the situation warrants including requesting assistance of the
           appropriate military commander, while simultaneously informing the Department of
           State.

            b. The authority of the Principal U.S. Diplomatic or Consular representative to order
            an evacuation does not extend to those uniformed personnel of the U.S. Armed Forces
            and designated emergency-essential DOD civilians who are not under the authority of
            the U.S. Chief of Diplomatic Mission, or to U.S. citizens in the U.S. Naval Base,
            Guantanamo.

            2. Normally, the Combatant Commander in an area shall receive authorization from
            the Secretary of Defense through the Chairman, Joint Chiefs of Staff, before using any
            U.S. Armed Forces and facilities in a foreign country for protection and evacuation
            purposes. However, when the U.S. military commander is requested by the principal
            U.S. Diplomatic or Consular Representative to assist in protecting or evacuating U.S.
            citizens and nationals and designated other persons, and any delay in obtaining
            authorization from the 'Secretary of Defense would jeopardize these persons, the U.S.
            military commander shall respond to the extent the commander deems militarily
            feasible.

            3. When U.S. citizens are endangered, but timely communications cannot be
            established between the principal U.S. Diplomatic or Consular Representative in the
            area and the appropriate Combatant Commander, and time and communications do not
            permit the commander to receive authorization from the Secretary of Defense without
            jeopardizing the U.S. citizens, the U.S. military commander may initiate action which
            he considers necessary, appropriate, and militarily feasible. Non-military actions and
            use of civilian facilities and personnel initiated prior to military assumption of
            responsibilities will continue at the discretion of the military commander.

    E.    RESPONSIBILITY FOR MILITARY OPERATIONS

            1. In determining what military forces and equipment are necessary and appropriate,
            the Principal U.S. Diplomatic or Consular Representative, the Combatant Commander,
            and the appropriate U.S. military commander must consider whether there is the
            probability of international repercussions if U.S. Armed Forces are used in an area.

            2. Once the decision has been made to use military personnel and equipment to assist
            in the implementation of emergency evacuation plans, the military commander is solely
            responsible for conducting the operations. However, except to the extent delays in
            communication would make it impossible to do so, the military commander shall
            conduct -.'lose operations in coordination with and under policies established by the
            Principal U.S. Diplomatic or Consular Representative.

     F.    ORGANIZATION FOR EMERGENCY EVACUATION PLANNING

                   Administration and coordination of the interagency responsibilities outlined
           above require the continuous exchange of information and views between the
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            Departments of State and Defense. To facilitate these exchanges, the Washington
            Lia4son Group and regional liaison groups have been established as follows:

             1.     The Washington Liaison Group (WLG) is an organization consisting of members
             of the Departments of State and Defense, chaired by a representative of the Department
             of State, which has basic responsibility for the coordination and implementation of
             plans for the protection and evacuation in emergencies of persons abroad for whom the
             Secretaries of State and/or Defense are responsible. The representatives on the WLG
             are the points of contact for their departments on all matters pertaining to emergency
             evacuation planning, implementation of plans, and coordination of repatriation
             activities with the Department of Health and Human Services. (See Appendix 4).

             2. Regional liaison groups are established overseas and activated upon the
             recommendation of the WLG to assist in the coordination of emergency and evacuation
             planning between the Departments of State and Defense for areas outside the United
             States. (.See Appendix 5).

          The procedures set forth in Appendix 1 shall be jointly exercised by the Departments of
          State and Defense as appropriate.

    G. ENTRY INTO FORCE; AMENDMENT

    This memorandum of agreement supersedes the "Memorandum of Understanding between
    Departments of State and Defense on the Protection and evacuation of U.S. citizens and
    designated aliens abroad" of September 28-29, 1994. This memorandum of agreement and its
    appendices, which latter shall be considered an integral part hereof, may be amended at any time
    by written agreement of the parties. This memorandum of agreement shall enter into effect upon
    the date of last signature hereto and may be terminated by either party hereto on 30 days' written
    notice to the other party.




    Thomas R. Pickering                              Walter B. Slocombe
    Under Secretary                                  Under Secretary of Defense
        for Political Affairs                             for Policy
    Department of State                              Department of Defense

    Date: JUL 2 1998                                 Date: 14 July 98
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                                              APPENDIX 1

             CHECKLIST FOR INCREASED INTERAGENCY COORDINATION IN
                         CRISIS/EVACUATION SITUATIONS

    Introduction

    Ensuring protection of United States nationals in foreign countries is a fundamental obligation of
    the United States government. When U.S. citizens are in danger and the host nation is unable or
    unwilling to protect them, the USG must be prepared to protect and/or evacuate its citizens.

    The Department of State (DOS) and the Department of Defense (DOD) have agreed upon the
    following checklist for evacuations.

    Policy Guidelines

    The number of American citizens in a danger area should be reduced if a crisis is foreseen. The
    principal objective of reducing the number and /or evacuating U.S. citizens is to decrease the
    number subject to physical harm and/or seizure as hostages. A balance must be struck, however,
    between the possible efficiency of early departure and the potentially destabilizing effect of such
    a decision on the crisis. The safety of U.S. citizens is of paramount concern, but successful
    evacuation operations must take into account risks for evacuees and U.S. forces.

    The USG will consider evacuating third country nationals (TCNs) and host country nationals
    (HCNs) on a case-by-case and space available/ reimbursable basis when doing so serves U.S.
    interests. In doing so, the U.S. will coordinate with allies to share the burden of evacuations to
    the extent possible, and will keep other nations informed of U.S. plans.

    The funding responsibilities for evacuations are addressed separately in an agreement between
    the Chief Financial Officer of the DOS and the Principal Deputy Comptroller of DOD.

    Strengthened Policy Mechanisms

    In order to strengthen coordination and ensure the earliest possible involvement of OSD, JCS,
    and NSC in managing crisis/evacuation situations, two new interagency groups will be formed.

    •    First, a "Policy Oversight Group for Crisis/Evacuation Situations" (POG) will be
         established to provide broad direction and ensure consistent handling of crises in different
         parts of the world. The POG will be chaired by the Under Secretary of State for Political
         Affairs and will include as core members appropriate senior officials from OSD, JCS, and
         NSC. Other agencies will participate as required.

    •    Second, an interagency working group (IWG) will- be created to manage particular crises.
         This group will be chaired by the appropriate regional Assistant Secretary of State, with
         comparable representation from OSD, JCS and NSC.

    •    Third, the existing interagency Washington Liaison Group (WLG), chaired by a
         representative from State's Executive Secretariat, will continue to coordinate evacuation
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         planning, implementation and logistics on a working level. (This group's efforts will include
         the handling of evacuees after their departure from the area of crisis.)

    1.      Preparatory Steps

    -- Advance Planning - DOS and DOD will:

                     Identify as early as possible potential "Hot Spots" that could require evacuations.
                      DOS will estimate the number of private Americans and TCNs and HCNs who
                      could potentially be offered evacuation assistance and will continue the present
                      practice of sharing updated Emergency Action Plans (EAPS) and F-77
                      information with DOD and the responsible regional CINCS.

                    Continue to issue Consular warning notices to private American citizens and
                     reduce the number of official Americans and their family members as the crisis
                     builds. This information is presently and will continue to be made public so that
                     third countries can minimize their own vulnerabilities.

                    Prepare annually a personal message from the Under Secretary for Political Affairs
                     to all Chiefs of Mission (COMs), emphasizing the critical importance of advance
                     planning for any possible crisis.

          -- Conduct appropriate travel by interagency teams to selected posts deemed to be most at
          risk of crisis. Teams will assist posts in advance planning such as reviewing EAPs and F-
          77s, conducting security assessments, reviewing warden systems, and providing
          appropriate training.

          -- The WLG will meet to discuss its role in interagency coordination of logistical aspects
          of drawdown/evacuations.

    2. First Signs Emerge of Potential Crisis

          -- Any member of the IWG convenes conference call or SVTS to discuss the developing
          situation. Initial issues would include: review of tripwires, notifications to American
          citizens, status of drawdown/evacuation planning, availability of commercial transport,
          whether a CINC's Security Assessment Team should be deployed, other country assets, US
          military assets, potential for coordination of drawdown/evacuation planning with other
          governments, and possible TCN and host country national questions.

          -- The IWG assesses next steps and makes recommendations to the POG.

          -- Post and State Department consider options for limiting the number of official
          Americans at post even before authorized or ordered departure becomes necessary.
          Options include taking home leave, R&R or vacation early; delaying scheduled TDY; and,
          authorizing voluntary separate maintenance allowance (SMA) to enable eligible family
          members to leave post.
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                                                   3

    3.    Situation Begins to Deteriorate

    -- Agencies formally convene working groups or task forces to manage drawdown/evacuation.
    Regular contact is maintained between DOS and DOD task forces.

          -- IWG establishes regular schedule of interagency SVTS or conference calls. Important
          issues will be elevated to the POG and/or Deputies Committee as required.

          -- State working group or task force reviews tripwires with post; ensures that
          recommendations for authorized/ordered departure are made in timely fashion; and that
          every effort is made to take early advantage of commercial options for
          drawdown/evacuation.

          -- Consular notices to private Americans are reviewed and updated as necessary.

          -- National Command Authorities or CINC as appropriate make decision to pre-position
          forces to protect U.S. citizens. Joint Staff will report CINC's intentions to IWG. As a
          matter of general practice the Deputies Committee should consult when troops are pre-
          positioned for a potential NEO.

          -- Coordinate drawdown/evacuation informally with other countries.

     4.   Drawdown/Evacuation or NEO Becomes Necessary

          -- Post or DOS Regional Assistant Secretary recommends, in consultations with
          management offices, drawdown/evacuation (including possible suspension of operations).
          Other agency members of the IWG are expected to contribute to the formulation of this
          recommendation. IWG also discusses TCN and HCN evacuation policy.

          -- POG consults on drawdown/evacuation decision and TCN and HCN policy as
          necessary.

          -- If a drawdown/evacuation is under consideration, the POG discusses and then
          determines whether a Deputies Committee meeting would be helpful.

          -- Deputies should be informed through the Joint Staff when the regional CINC determines
          it is necessary to execute preparatory activities in order to support crisis monitoring,
          drawdown/evacuation and/or a NEO. As a matter of general practice the Deputies will
          meet (in person, by SVTS, or by conference call) to seek interagency consensus before a
          NEC begins. If the Deputies meeting does not reach consensus, the matter should quickly
          be brought before the Principals and, if necessary, the President.

          -- The President should be advised as appropriate by the Secretary of Defense when forces
          are pre-positioned to support a possible evacuation, before the execution of a NEO, and as
          necessary, thereafter.
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             -- The President will always be informed by the National Security Advisor when forces
             are pre-positioned for a NEO.

             -- Under Secretary of State for Management makes formal drawdown/evacuation decision.
             If necessary, ExecSec/DOS forwards formal request to ExecSec/DOD for military-assisted
             evacuation (NEO).

             -- The employment of forces to execute a military-assisted evacuation will be approved by
             the President, absent exigent circumstances requiring the CINC to act promptly to save
             lives.

             -- Consular notice is issued to private American citizens.

             -- WLG meets to coordinate 'Logistical details of the drawdown/evacuation.

              -- IWG is briefed on the logistical details of the drawdown/evacuation.

             -- Agencies coordinate press statements and any appropriate Congressional contacts.

    5.       Implementation of Drawdown/Evacuation or NEO

             -- IWG and/or WLG continue to meet regularly.

    6.       Completion of Drawdown or NEO

             -- The IWG develops lessons learned, which are shared with other agencies and applied to
             management of future crises.

             -- DOS/DOD financial staff coordinate and take necessary actions to collect costs, submit
             reimbursable documentation, bill evacuees, etc.

    7. Follow-On Operations

    In situations where the decision has been made to reduce the number of personnel at an Embassy
    but not close it entirely, the regional DOS Assistant Secretary will raise in the IWG such issues
    as:

         •      Possible requirement for DOD assistance to sustain the Embassy in a confused or non-
                permissive environment.

         •      Guard force for Embassy and personnel.

         •      Maintenance of evacuation assistance forces on standby or alert.
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                                MEMORANDUM OF AGREEMENT

    Subject:          Department of State/Department of Defense Cost Responsibilities

            The matrix and definition attached reflect our agreement with respect to the standard
          allocation of Departmental responsibilities when an evacuation occurs. It is, however,
          subject to resolution of outstanding legal issues by our respective General Counsels.

            By agreement, we leave separated the cost elements of an evacuation into two broad
          categories - evacuation and protection. The Department of State would be responsible for
          the first category and the Department of Defense would be responsible for the second.

            The responsibilities as assigned within the matrix and definitions only apply with respect
          to evacuations. Under other Department of State/Department of Defense
          agreements/activities, different responsibilities may exist.


    (Signed) Aug 29 1997                            (Signed) September 2, 1997
    Alice C. Maroni                                 Richard L. Greene
    Acting Under Secretary of Defense               Chief Financial Officer
    (Comptroller)                                   Department of State

    Attachment:
          As stated

    cc: National Security Council
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                                          EVACUATIONS
                        DOS/DOD Cost Responsibility Matrix and Definitions

                                                                     Evacuation/
                                                                     Protection
                                                              Cost Responsibility

    Evacuation Related Costs 1/

    A.      Evacuee Transportation Backhaul                           DOS
    B.      Landing Fees                                              DOS
    C.      Positioning of evacuee transportation assets solely for   DOS
            Evacuation

    Protection Related Costs 2/

    D.      Positioning of transportation assets when assets are      DOD
            to be used for protection and evacuation
    E.      Special Pays (Imminent Danger, etc.)                      DOD
    F.      Protection Forces (Including all support)                          DOD
    G.      Deploy redeploy reconstitute protection element           DOD
    H.      Protection of evacuees/DOD assets & personnel             DOD
    I.      Tactical Airlift Control Element                          DOD
    J.      Per Diem                                                  DOD
    K.      Communications                                            DOD
    L.      NEO command structure                                     DOD

    1/ If other evacuation efforts are specifically requested by Department of State, they will be
    billed under the Economy Act.
    2/ If other protection efforts are performed during an evacuation, their cost will be borne by
    Department of Defense.
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                                               Evacuations

                 Definitions of Cost Elements in DOS/DOD Responsibility Cost Matrix

                    By agreement, DOS and DOD have separated the cost elements of an evacuation
            into two broad categories - Evacuation and Protection. These definitions are intended to
            be applicable for al1 phases of an evacuation whether DOD assistance is required or not.
            Protection responsibilities defined below apply only to evacuations and do not
            necessarily apply to other DOS/DOD agreements/activities.

                                        Evacuation Related Costs


     A.     Evacuee Transportation Backhaul

             Incremental costs related to the movement of personnel (American citizens and other
     third country nationals) from identified point(s) of evacuation to designated turnover point(s).

               For DOD, this represents costs incurred when an asset that is owned or leased by DOD
    is in use for the designated purpose of moving evacuees from the point of departure to the time
    until the evacuees am returned to the control of Department of State or some other designated
    entity.

               Examples of such costs are: flying hours from designated departure zone(s) to
    designated safe haven(s) whether fixed or rotary wing aircraft (to include round trip return);
    steaming days (overseas movement) from designated port/area of operation to designated
    safehaven; over land conveyance of evacuees (trucks, buses, trains, etc.). In cases where
    TRANSCOM assets/leasing are used, all costs incurred charged are incremental as this activity
    operates as a business fund and receives its nonsubsidy revenue through customers. In cases
    where non-TRANSCOM assets am used incremental costs may be more difficult to identify. For
    ship steaming costs, international costs will be assessed against evacuation criteria as the ship(s)
    are also likely involved in protection activities which will be borne by DOD. For flying hours
    that originate from shipboard and return (when for evacuation purposes only), will be considered
    incremental as these tasks are mission related and a training environment does not exist nor is
    training being performed.

              There are instances where U.S. forces may be transporting into the theater supplies,
    equipment, personnel, subsistence items, etc. which are necessary to support the protection
    portion of the evacuation. Often, the transporting asset is returning empty/less than full to its
    place of origin having delivered its cargo. When this occurs, that asset may also be able to
    evacuate personnel. Because the cost of that asset returning to its place of origin is allocable to
    the protection portion of an evacuation, the incremental costs of transporting evacuees are
    usually negligible (this is commonly referred to as evacuation on a "space available" basis).
    Generally, DOS will request this support on a reimbursable basis under the Economy Act. This
    is commonly referred to as “reimbursable, no cost" due to the cost of the flight being covered for
    other primary purposes and there happens to be space available on that asset to evacuate
    personnel.
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                When available, use of protection intended assets for backhaul of evacuees is desirable
    as it has the dual benefit of maximizing the flow rate of evacuees onward towards the designated
    safe haven (utilizing a minimum of assets) and helps to keep overall costs of the evacuation
    mission to a minimum.


      B.    Landing/Port Fees

            Incremental costs incurred in the movement of evacuees from point of evacuation to the
    designated point of release to State or another assigned entity.

            For DOD, this represents costs incurred in the movement of evacuees that art not
    reflected in reimbursable costs captured under "evacuee transportation.

            Examples of such costs are: landing fees, tolls, air rights charges, seaport charges, etc.
    Fundamentally, these are costs that if not paid either prevent the efficient movement of evacuees
    or would result in less efficient and/or more costly means of moving evacuees towards the
    designated safe haven.


      C. Positioning of Evacuee Transportation Assets Solely for Evacuation

            Incremental costs associated solely with the positioning of DOD owned/leased assets that
    are beyond requirements for protection and are needed specifically for evacuation support
    necessary to ensure the safe, efficient, and quick movement of evacuees.

            For DOD, this represents the: costs of having to realign assets required to support an
    evacuation that must be brought from and returned to their homeport/base/area of operation to
    the point where these assets will conduct evacuation efforts whose costs fall under the definition
    of “evacuee transportation" above.

             Examples of such costs are: relocation and return, by cargo lift or under their own
    conveyance, of evacuation assets to the designated station to fulfill the evacuation mission;
    relocation and return of cargo airlift to position evacuation assets (helicopters, trucks, etc.) - this
    also includes the cost to return cargo lift to home base or point of origination if cargo lift must
    return at a later date after the evacuation concludes in order to return "lifted" assets to their point
    of origin; relocation and return of Military Sealift Command/contract sealift assets to support
    evacuation (to include overseas shipment of assets). Exceptions to the relocation and return
    policy are: aircraft/other assets diverted to an evacuation zone while en route to an alternate
    destination (splitting of such costs are deemed too subjective); and. backhaul of prepositioned
    assets (or lift used to preposition assets) to other than the point of origin/home base (this implies
    that the lift asset is now required for another mission and as such, the customer/parent Service
    should cover these transport costs.
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                                        Protection Related Costs


               In some instances, the costs identified below can be influenced by evacuation-related
    requirements to a greater degree than protection-related requirements. However, due to the
    difficulty and subjectivity in allocating such costs between evacuation and protection, DOD and
    DOS have agreed with a proposal to align these costs under “protection" which DOD will absorb.

    D. Positioning of Transportation Assets When Assets are to be used for Protection and
    Evacuation

            Generally, assets brought into a theater are considered to be for the purpose of providing
    protection to U.S. forces and evacuees. In these cases, this cost is borne by DOD. In instances
    where it can be clearly demonstrated that an asset brought in to support an evacuation is beyond
    determined protection requirements and that asset's intended purpose is solely provided for
    evacuation efforts, then it may be considered under the definition in section C.

    E. Special Pays

            When U.S. forces are deployed to a potentially hostile environment, they may be eligible
    for additional compensation such as imminent Danger/Hostile Fire pay and Family Separation
    Allowance.

             Generally, these benefits are paid on a monthly basis whether the forces are utilized for
    one day or thirty days. As some forces may be performing evacuation responsibilities one day
    (or shift, flight) mid protection requirements the next tracking, collecting, and reporting such
    data for reimbursement would be difficult to segregate and verify.

    F. Protection Forces (including all support)

            Incremental costs related to the support of protection forces such as infrastructure
    requirements (base operations, utilities, messing requirements, housing requirements, etc.).

    G. Deploy/Redeploy/Reconstitute Protection Element]

           Incremental costs related to the movement of protection forces and assets into and out of
    theater. In addition this element covers the cost of restoring equipment and materiel to original
    condition prior to deployment. This may involve depot maintenance/overhaul of equipment
    damaged during the evacuation and re-establishment of spare parts allowances necessary to
    support the operation of equipment and materiel.

    H. Protection of Evacuees/DOD Assets and Personnel

          Incremental costs related to providing security for evacuees and DOD assets and forces.
    This may involve the establishment of safe areas while evacuees are waiting to be relocated to
    the designated turnover point, erecting perimeter fences/outposts, performing searches to relocate
    potential evacum3 to safe areas, etc. Not included in this definition are incremental costs that
    may be incurred in providing security for the embassy when evacuation efforts have essentially
    been completed.
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    I. Tactical Airlift Control Element (TALCE)

            In some evacuations, it is necessary for DOD to reestablish/take over/ provide for air
    traffic control of an existing airport or a temporary airfield that must be set up. The TALCE is
    likely to support and benefit both the evacuation and protection elements of the operation.
    Again. allocation of incremental costs would be a subjective exercise. Although commercial
    aircraft may utilize an airport operated by a TALCE, the necessity to command the airport
    derives from protection concerns for U.S. citizens, property, forces.

    J. Per Diem/TDY

           Forces in theater, supporting the evacuation, may be eligible to receive per diem/TDY
    allowances. As the majority of these costs would be incurred by forces on the ground involved
    in protection aspects of the evacuation and there is likely to be difficulty in splitting these costs if
    some forces were performing both evacuation and protection functions, these costs will be
    assigned to the protection category.

    K. Communications

           Incremental costs related to the use of communications to support the evacuation (satellite
    links. secure networks, portable communication devices, etc.). Communications costs will
    support both protection and evacuation functions of the operation. Allocation of costs would be
    difficult and subjective.

    L. NEO/JTF Command Structure

            Incremental costs related to establishing (stand up/operation/shut down) the
    organizational elements within the geographic CINC to support the evacuation. The command
    structure supports both evacuation and protection. However, overriding concerns are related to
    protection and in some instances a command element may be established although DOD’s
    participation in the evacuation may not be required. Separating incremental costs related to
    evacuation would be an impossibility.

                          Explanation of Footnotes on Cost Responsibility Matrix

            The first footnote is designed to allow for costs reimbursement for activities not covered
    under the above definitions, but are specifically requested by State and are necessary to support
    the evacuation. The wording of the footnote is designed to limit the ability of DOD to include
    costs that go beyond the intent of a State request.

            The second footnote is intended to recognize that there may be elements of protection
    that have not been outlined in the definitions provided. Nonetheless, the footnote recognizes that
    the Department of Defense is responsible for bearing costs of protection that it incurs during an
    evacuation.
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                                     APPENDIX 3
                       EVACUATION OF THIRD COUNTRY NATIONALS

    ISSUE: Many countries rely on the U.S. to evacuate their nationals during a crisis. Current
    procedures have not resulted in effective planning for the evacuation of Third Country Nationals
    (TCN's) and Host Country Nationals (HCN's) or coordination with other countries who may be
    able to provide evacuation assistance. This lack of coordination complicates evacuation
    planning, increases costs to the USG, and endangers successful evacuation of American citizens.

    The following is a review of recent interagency discussions on improving advanced coordination
    for the emergency evacuation of TCN's and actions that will be taken as a result of those talks.

    DISCUSSION

    What Is the current policy on TCN evacuation?

    Current policy on evacuation of third country nationals is outlined in the Department's
    Emergency Planning Handbook 12 FAH 1512(g). Essentially this provision states that in the
    event of a Noncombatant Evacuation Operation (NEO), the USG will consider extending - on a
    humanitarian, space available but reimbursable basis - evacuation assistance to foreign nationals.

    In practice, we have repeatedly assisted virtually all governments requesting assistance in
    evacuating their nationals from countries in which a NEO has become necessary. Military
    planning has been hindered by grave underestimates of potential evacuees.

    The Department refrains from entering into formal agreements with other governments on the
    evacuation of their nationals. We have two long-standing agreements with the Canadians and
    British to consult with each other with respect to evacuation planning. All foreign governments
    (including Canadians and British) are urged to plan for their own nationals' evacuation and not to
    depend on USG resources.

    How can we improve awareness of and implementation of current policy?

    The FAH is unclear on who may authorize evacuation of TCN's and does not define the criteria
    for deciding and prioritizing which countries should be offered evacuation assistance. Crisis
    managers on the ground tend to err on the side of providing humanitarian evacuation assistance.
    In an often chaotic crisis situation, many TCN's are evacuated with inadequate eligibility
    screening and little support from their own governments upon arrival in the safehaven. While
    posts are best able to assess the advisability of assisting TCN’s, the Department will provide
    appropriate guidance as soon as possible in a developing crisis.

    Action

    State will prepare more specific guidance for posts on evacuating TCN's under the current policy
    of providing such assistance on a space available, reimbursable basis. If evacuation assistance is
    offered, foreign governments must be responsible for their evacuees at the points of departure
    and arrival in safehaven. USG resources should be concentrated on assisting Americans, and we
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    should not risk jeopardizing our relationship with the safehaven government receiving the
    evacuees.

    In addition, State will send a message to all Chiefs of Mission discussing crisis management,
    evacuation planning and TCN'S. Outgoing ambassadors are briefed on evacuation planning as
    part of the Ambassadorial Seminar. All posts will receive via cable a checklist for evacuation
    planning at post and the checklist for interagency evacuation coordination.

    Should. we negotiate bilateral agreements (MOU's) on TCN evacuations and/or multi-
    lateral agreements with organizations such as NATO or the WEU?

    In a crisis situation overseas, the primary concern of the USG is the protection of U.S. citizens.
    Providing that protection requires maximum flexibility. Entering into formal agreements with
    third countries could restrict the USG's ability to determine timing, duration, and location of a
    military assisted evacuation. Such agreements could obligate - or be perceived as obligating - the
    U.S. to evacuate large numbers of TCN's and to continue operations after all Americans have
    been evacuated. This would put U.S. military and civilians at greater risk and increase the need
    for DOD force protection. In addition, the potential cost to the USG, State in particular, far
    exceeds our funding availability.

    Presumably, formal evacuation agreements also would cover third country assistance to
    Americans in a crisis. In some situations, third countries are better positioned to provide safe
    and timely evacuation assistance to Americans. However, all agencies agree that the USG should
    not rely exclusively on other countries to protect our citizens. While it is prudent to explore
    ways in which third countries can support U.S. efforts to get our nationals out of harm's way, we
    should not assume that assistance will be sufficient.

    In isolated cases, e.g. planning for a Korea contingency, it may be advantageous for the U.S. to
    develop more detailed evacuation coordination plans through government-to-government or
    military-to-military contacts resulting in limited agreements. However, in the majority of
    countries, the disadvantages of entering into formal evacuation agreements would outweigh the
    advantages.

    How can we Improve coordination on TCN evacuations and ensure that the burden is
    shared among all nations involved?

    The most effective means of increasing international cooperation and ensuring burdensharing is
    through coordination at post rather than formal agreements. Ambassadors and regional CINC's
    should be the focal point for evacuation coordination in their countries of responsibility, as they
    have both country knowledge and contacts with other missions. Chiefs of Mission and regional
    CINCs should work together and within the diplomatic community to explore avenues for
    evacuation coordination in their countries.

    Action

    Several tools for TCN coordination already exist. The F-77 report includes information on
    TCN's who might request evacuation assistance. The Emergency Action Plan (EAP) includes a
    section on coordination with other missions. To provide more accurate estimates of evacuation
    needs, State will direct posts to compile more detailed information on numbers of TCN'S, assess
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    other missions' evacuation resources, and encourage those missions to establish their own
    evacuation plans.

    Especially in 'hot spots,' posts should work closely with the diplomatic community to ensure
    adequate evacuation contingency planning, explore the capability of third countries to assist
    Americans in an evacuation and establish coordination and communication procedures that will
    facilitate international cooperation during an actual crisis. State will encourage ambassadors to
    initiate early consultations on gaining other nations' support for evacuation operations, TCN
    management and identification of safe havens. When appropriate, posts should urge other
    missions to encourage their nationals to depart a country in crisis. In some cases, evacuation
    coordination with other missions may take place in Washington and in capitals as well as at post.
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                                               APPENDIX 4

         DEPARTMENTS OF STATE AND DEFENSE LIAISON FOR COORDINATION
                                     AND
              IMPLEMENTATION OF PLANS FOR THE PROTECTION OF
                    U.S. CITIZENS ABROAD IN EMERGENCIES

                                    TERMS OF REFERENCE OF
                                THE WASHINGTON LIAISON GROUP

    I. INTRODUCTION

    The Secretaries of State and Defense have established the Washington Liaison Group (WLG) to
    ensure coordination of the work of their departments in fulfilling their responsibilities for
    protection and evacuation of U.S. citizens abroad.

    II. RESPONSIBILITIES

    The WLG is responsible for coordination and implementation at the national level of all
    emergency and evacuation plans by the Departments of State and Defense and by other U.S.
    Government agencies as appropriate.

    III. FUNCTIONS

    To fulfill its responsibilities, the WLG shall:

       A. Recommend the establishment of such regional liaison groups as are advisable, along
       with their terms of reference, to the Secretary of State.

       B. Provide advice on evacuation planning and protection of U.S. citizens and nationals and
       designated other persons to regional liaison groups, U.S. diplomatic and consular costs, and
       military commands in countries.

       C. Monitor the activities of the regional liaison groups and provide direction as required
       through appropriate channels.

       D. Periodically review protection and evacuation capabilities relative to the number of U.S.
       citizens and nationals and designated other persons throughout the world for whose protection
       in-an-emergency the U.S. Government is responsible.

       E. Coordinate operations of the two departments incident to the evacuation and/or in-place
       protection of U.S. citizens and nationals and designated other persons abroad. Upon
       activation of the Office of the Secretary of Defense Crisis Coordination Center and/or the
       Joint Chiefs of Staff crisis response elements within the National Military Command Center
       (NMCC) during an emergency or actual evacuation, the WLG's responsibilities for
       coordination of operations of the two Departments during crisis may be discharged through
       these elements together with the respective task force or working group within the State
       Department Operations Center.
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    IV. MEMBERSHIP

         A. The WLG shall be chaired by a Department of State representative. Membership shall
         include representatives of the Departments of State and Defense.

         S. The WLG may invite representatives of such other departments and agencies of the U.S.
         Government (e.g., Department of Health and Human Services, Agency for International
         Development, etc.,) to participate in or attend as observers its meetings when appropriate and
         useful.

    V.

    Meetings shall be called by the WLG chairperson.
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                                               APPENDIX 5

      DEPARTMENT OF STATE AND DEFENSE LIAISON FOR COORDINATION AND
       IMPLEMENTATION OF PLANS FOR THE PROTECTION OF U.S. CITIZENS
                        ABROAD IN EMERGENCIES

                                    TERMS OF REFERENCE OF
                                  THE REGIONAL LIAISON GROUP

    1. INTRODUCTION

    The Secretaries of State and Defense have established regional liaison groups overseas as
    necessary to ensure coordination of emergency and evacuation planning-by their departments in
    the field.

    II. AREAS OF RESPONSIBILITY

    The regional liaison groups established overseas to fulfill the functions outlined in section III, are
    as follows:

          A.       The European Liaison Group (ELG): Includes all of Europe, Russia west of 100
          degrees East and the new states of the former Soviet Union; all countries of Africa west
          and south of Egypt, Sudan and Kenya; and Syria, Lebanon and Israel.

          B.       The Central Liaison Group (CLG): Includes all of Africa and Southwest Asia not
          covered by the ELG, extending as far east as and including Pakistan.

          C.      The South American Liaison Group (SALG): Includes Central America and
          South America.

          D.        The East Asia Liaison Group (EALG): Includes all countries east of the
          Pakistan-India border, Australia and the island states of the Indian and Pacific Oceans and
          Vladivostok.

          E.        The Washington Liaison Group (WLG): Has regional responsibility for Canada,
          the Caribbean Island states and Mexico and acts as the regional liaison group for all other
          areas not assigned, excluding the U.S. Naval Base, Guantanamo.

    III. FUNCTIONS

    Each regional liaison group overseas shall perform the following functions:

          A.     Provide support to officials at diplomatic and consular posts and military
          commands in its area of responsibility by:

                     1.    Providing liaison between WLG and the posts.

                     2.    Ensuring coordination exists between the various posts, and between the
                           posts and appropriate military commands.
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                   3.      Assisting posts and the appropriate military commands in planning for
                   the evacuation and/or in-place protection of U.S. citizens and nationals and
                   designated other persons in an emergency.

                   4.      Reviewing the emergency evacuation plans prepared by posts and
                   forwarding them to the Department of State for approval and distribution to
                   ensure:

                           a.      The information contained therein is adequate to meet the
                           requirements of the Departments of State and Defense.

                           b.       Post plans and U.S. and allied military operational plans do not
                           conflict.

                           c.      The plans of all posts in the area are coordinated when
                           necessary.

           B.      Refer to the WLG relevant issues which are not resolvable in the overseas area.

    IV. MEMBERSHIP

         A.        Each regional liaison group overseas shall be chaired by a Department of State
         representative. Membership shall include representatives of the appropriate Combatant
         Commander and any subordinate component commands as desired.

         B.      Regional liaison groups overseas may invite representatives of other U.S.
         departments and agencies to participate in their meetings when appropriate and useful.

    V.   CHAIN OF COMMAND

    A.   The Chairperson of each regional liaison group overseas shall receive instruction from the
         Department of State.

    B.   The military members of each group shall receive their instructions from the Secretary of
         Defense through the appropriate U.S. Combatant Commander.
